

People v Weeks (2023 NY Slip Op 00113)





People v Weeks


2023 NY Slip Op 00113


Decided on January 11, 2023


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on January 11, 2023
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

MARK C. DILLON, J.P.
LINDA CHRISTOPHER
WILLIAM G. FORD
JANICE A. TAYLOR, JJ.


2022-00128

[*1]The People of the State of New York, respondent,
vJoseph P. Weeks, appellant. (S.C.I. No. 124/21) 


Yasim Daley Duncan, Brooklyn, NY, for appellant.
William V. Grady, District Attorney, Poughkeepsie, NY (Kirsten A. Rappleyea of counsel), for respondent.



DECISION &amp; ORDER
Appeal by the defendant from a judgment of the County Court, Dutchess County (Edward T. McLoughlin, J.), rendered December 10, 2021, convicting him of attempted burglary in the second degree, upon his plea of guilty, and imposing sentence.
ORDERED that the judgment is affirmed.
The record demonstrates that the defendant knowingly, voluntarily, and intelligently waived his right to appeal (see People v Sanders, 25 NY3d 337, 340-342; People v Lopez, 6 NY3d 248, 256-257; People v Morrow, 198 AD3d 922, 923).
Although the defendant's contention that his plea of guilty was not knowing, voluntary, and intelligent survives his valid waiver of the right to appeal (see People v Cardona, 177 AD3d 647, 648), the defendant failed to preserve that contention for appellate review, since he did not move to withdraw his plea or otherwise raise this issue before the County Court (see People v Peque, 22 NY3d 168; People v Olmos, 199 AD3d 711). In any event, the record demonstrates that the defendant's plea was entered knowingly, voluntarily, and intelligently (see People v Harris, 61 NY2d 9, 17).
The defendant's valid waiver of his right to appeal precludes appellate review of his contention that the sentence imposed was excessive (see People v Lopez, 6 NY3d at 255).
DILLON, J.P., CHRISTOPHER, FORD and TAYLOR, JJ., concur.
ENTER:
Maria T. Fasulo
Clerk of the Court








